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 7                         UNITED STATES DISTRICT COURT
 8                        SOUTHERN DISTRICT OF CALIFORNIA
 9
10 UNITED STATES OF AMERICA,                    Case No.: 18-mj-2665-MDD-WQH
11           Plaintiff,
       v.                                       JUDGMENT and ORDER
12
13 RAFAEL FLORES-RAMOS,
14           Defendant.
15
16          On the Government’s motion, and for good cause shown, the conviction in the
17 above case is vacated and the charge dismissed without prejudice.
18          IT IS SO ORDERED.
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20     Dated: April 20, 2020
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